       Case 4:20-cv-00008-AT Document 725 Filed 01/25/22 Page 1 of 56




              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                         ROME DIVISION

JARROD JOHNSON, individually and )
on behalf of a class of persons similarly )
situated,                                 )
                                          )
      Plaintiff,                          )
                                          )
v.                                        )      CIVIL ACTION NO.:
                                          )      4:20-cv-0008-AT
3M COMPANY, et al.,                       )
                                          )
      Defendants.                         )

             DEFENDANT TARKETT USA INC.’S
 ANSWER AND AFFIRMATIVE DEFENSES TO PLAINTIFF’S FOURTH
    AMENDED INDIVIDUAL AND CLASS ACTION COMPLAINT

      COMES NOW Defendant Tarkett USA Inc. (“this Defendant” or “Tarkett”),

by and through undersigned counsel, and submits this Answer and Affirmative

Defenses to the Fourth Amended Individual and Class Action Complaint

(“Complaint” or “Fourth Amended Complaint”) filed by Plaintiff as follows:

                                    ANSWER

      Tarkett denies every allegation in the Fourth Amended Complaint not

specifically admitted below. This Defendant expressly reserves the right to amend

its answer and affirmative defenses as it obtains additional information. This

Defendant responds as follows:
          Case 4:20-cv-00008-AT Document 725 Filed 01/25/22 Page 2 of 56




                          STATEMENT OF THE CASE

      1.      This Defendant objects to the terms “toxic” because it is undefined,

vague, and ambiguous. Paragraph 1 is a narrative setting forth legal conclusions to

which no response is required. To the extent Paragraph 1 is interpreted to contain

factual allegations requiring response, this Defendant denies those allegations,

denies that Plaintiff and putative members of the class (collectively, “Plaintiff”) have

been damaged, and denies that Plaintiff meets the requisites to maintain a class

action.

      2.      This Defendant denies the allegations of the Complaint as they may

pertain to this Defendant.

      3.      This Defendant objects to the terms “contaminated” because it is

undefined, vague, and ambiguous. This Defendant lacks knowledge or information

sufficient to form a belief as to the truth of the allegations contained in Paragraph 3

and, thus, denies the same. This Defendant denies the allegations of Paragraph 3 of

the Complaint as it may pertain to this Defendant.

      4.      This Defendant objects to the term “contaminate” because it is

undefined, vague, and ambiguous. This Defendant denies the allegations contained

in Paragraph 4 as they may pertain to this Defendant.

      5.      This Defendant objects to the term “contaminated” because it is

undefined, vague, and ambiguous. This Defendant denies the allegations contained

                                           2
        Case 4:20-cv-00008-AT Document 725 Filed 01/25/22 Page 3 of 56




in Paragraph 5, denies Plaintiff has suffered any damages, and demands strict proof

of any damages claimed therein.

      6.     This Defendant objects to the term “toxic” because it is undefined,

vague, and ambiguous. Paragraph 6 is a narrative setting forth legal conclusions to

which no response is required. To the extent Paragraph 6 is interpreted to contain

factual allegations requiring response, this Defendant denies those allegations.

                         JURISDICTION AND VENUE

      7.     Paragraph 7 contains conclusions of law to which no response is

required. To the extent Paragraph 7 calls for a response from this Defendant, the

allegations contained therein are denied.

      8.     Paragraph 8 requires no response from this Defendant.

      9.     Paragraph 9 contains conclusions of law to which no response is

required. To the extent Paragraph 9 calls for a response from this Defendant, the

allegations contained therein are denied.

      10.    Paragraph 10 contains conclusions of law to which no response is

required. To the extent Paragraph 10 calls for a response from this Defendant, the

allegations contained therein are denied.

      11.    Paragraph 11 does not require a response from this Defendant. To the

extent Paragraph 11 can be construed as raising factual allegations requiring a

response from this Defendant, this Defendant is without knowledge or information

                                            3
        Case 4:20-cv-00008-AT Document 725 Filed 01/25/22 Page 4 of 56




sufficient to form a belief as to the truth of the allegations contained in Paragraph 11

and therefore denies the same.

      12.    Paragraph 12 contains conclusions of law to which no response is

required. To the extent Paragraph 12 calls for a response from this Defendant, the

allegations contained therein are denied.

      13.    Paragraph 13 contains conclusions of law to which no response is

required. To the extent Paragraph 13 calls for a response from this Defendant, the

allegations contained therein are denied.

      14.    Paragraph 14 contains conclusions of law to which no response is

required. To the extent Paragraph 14 calls for a response from this Defendant, the

allegations contained therein are denied.

                                      PARTIES

      15.    This Defendant objects to the term “contaminated” because it is

undefined, vague, and ambiguous. This Defendant lacks knowledge or information

sufficient to form a belief as to the truth of the allegations contained in Paragraph 15

and, thus, denies the same.

      16.    Paragraph 16 does not contain allegations regarding this Defendant, and

thus does not require a response from this Defendant. To the extent Paragraph 16

calls for a response from this Defendant objects to the definition of “contamination”




                                            4
        Case 4:20-cv-00008-AT Document 725 Filed 01/25/22 Page 5 of 56




because it is undefined, vague, and ambiguous. This Defendant denies the

allegations contained therein.

      17.    Paragraph 17 contains conclusions of law to which no response is

required. To the extent Paragraph 17 calls for a response from this Defendant, the

allegations contained therein are denied.

      18.    Paragraph 18 does not contain allegations regarding this Defendant, and

thus does not require a response from this Defendant. To the extent Paragraph 18

calls for a response from this Defendant, the allegations contained therein are denied.

      19.    Paragraph 19 does not contain allegations regarding this Defendant, and

thus does not require a response from this Defendant. To the extent Paragraph 19

calls for a response from this Defendant, the allegations contained therein are denied.

      20     Paragraph 20 does not contain allegations regarding this Defendant, and

thus does not require a response from this Defendant. To the extent Paragraph 20

calls for a response from this Defendant, the allegations contained therein are denied.

      21.    Paragraph 21 does not contain allegations regarding this Defendant, and

thus does not require a response from this Defendant. To the extent Paragraph 21

calls for a response from this Defendant, the allegations contained therein are denied.

      22.    Paragraph 22 does not contain allegations regarding this Defendant, and

thus does not require a response from this Defendant. To the extent Paragraph 22

calls for a response from this Defendant, the allegations contained therein are denied.

                                            5
        Case 4:20-cv-00008-AT Document 725 Filed 01/25/22 Page 6 of 56




      23.    Paragraph 23 does not contain allegations regarding this Defendant, and

thus does not require a response from this Defendant. To the extent Paragraph 23

calls for a response from this Defendant, the allegations contained therein are denied.

      24.    Paragraph 24 does not contain allegations regarding this Defendant, and

thus does not require a response from this Defendant. To the extent Paragraph 24

calls for a response from this Defendant, the allegations contained therein are denied.

      25.    Paragraph 25 does not contain allegations regarding this Defendant, and

thus does not require a response from this Defendant. To the extent Paragraph 25

calls for a response from this Defendant, the allegations contained therein are denied.

      26.    Paragraph 26 does not contain allegations regarding this Defendant, and

thus does not require a response from this Defendant. To the extent Paragraph 26

calls for a response from this Defendant, the allegations contained therein are denied.

      27.    Paragraph 27 does not contain allegations regarding this Defendant, and

thus does not require a response from this Defendant. To the extent Paragraph 27

calls for a response from this Defendant, the allegations contained therein are denied.

      28.    Paragraph 28 calls for a legal conclusion and does not contain

allegations of fact regarding this Defendant, and thus does not require a response.

To the extent Paragraph 28 calls for a response from this Defendant, the allegations

contained therein are denied.




                                          6
        Case 4:20-cv-00008-AT Document 725 Filed 01/25/22 Page 7 of 56




      29.    Paragraph 29 does not contain allegations regarding this Defendant, and

thus does not require a response from this Defendant. To the extent Paragraph 29

calls for a response from this Defendant, the allegations contained therein are denied.

      30.    Paragraph 30 does not contain allegations regarding this Defendant, and

thus does not require a response from this Defendant. To the extent Paragraph 30

calls for a response from this Defendant, the allegations contained therein are denied.

      31.    Paragraph 31 does not contain allegations regarding this Defendant, and

thus does not require a response from this Defendant. To the extent Paragraph 31

calls for a response from this Defendant, the allegations contained therein are denied.

      32.    Paragraph 32 does not contain allegations regarding this Defendant, and

thus does not require a response from this Defendant. To the extent Paragraph 32

calls for a response from this Defendant, the allegations contained therein are denied.

      33.    Paragraph 33 does not contain allegations regarding this Defendant, and

thus does not require a response from this Defendant. To the extent Paragraph 33

calls for a response from this Defendant, the allegations contained therein are denied.

      34.    Paragraph 34 does not contain allegations regarding this Defendant, and

thus does not require a response from this Defendant. To the extent Paragraph 34

calls for a response from this Defendant, the allegations contained therein are denied.




                                          7
        Case 4:20-cv-00008-AT Document 725 Filed 01/25/22 Page 8 of 56




      35.    Paragraph 35 does not contain allegations regarding this Defendant, and

thus does not require a response from this Defendant. To the extent Paragraph 35

calls for a response from this Defendant, the allegations contained therein are denied.

      36.    Paragraph 36 does not contain allegations regarding this Defendant, and

thus does not require a response from this Defendant. To the extent Paragraph 36

calls for a response from this Defendant, the allegations contained therein are denied.

      37.    Paragraph 37 does not contain allegations regarding this Defendant, and

thus does not require a response from this Defendant. To the extent Paragraph 37

calls for a response from this Defendant, the allegations contained therein are denied.

      38.    Paragraph 38 does not contain allegations regarding this Defendant, and

thus does not require a response from this Defendant. To the extent Paragraph 38

calls for a response from this Defendant, the allegations contained therein are denied.

      39.    Paragraph 39 does not contain allegations regarding this Defendant, and

thus does not require a response from this Defendant. To the extent Paragraph 39

calls for a response from this Defendant, the allegations contained therein are denied.

      40.    Paragraph 40 does not contain allegations regarding this Defendant, and

thus does not require a response from this Defendant. To the extent Paragraph 40

calls for a response from this Defendant, the allegations contained therein are denied.




                                          8
        Case 4:20-cv-00008-AT Document 725 Filed 01/25/22 Page 9 of 56




      41.    Paragraph 41 does not contain allegations regarding this Defendant, and

thus does not require a response from this Defendant. To the extent Paragraph 41

calls for a response from this Defendant, the allegations contained therein are denied.

      42.    Paragraph 42 does not contain allegations regarding this Defendant, and

thus does not require a response from this Defendant. To the extent Paragraph 42

calls for a response from this Defendant, the allegations contained therein are denied.

      43.    Paragraph 43 does not contain allegations regarding this Defendant, and

thus does not require a response from this Defendant. To the extent Paragraph 43

calls for a response from this Defendant, the allegations contained therein are denied.

      44.    Paragraph 44 does not contain allegations regarding this Defendant, and

thus does not require a response from this Defendant. To the extent Paragraph 44

calls for a response from this Defendant, the allegations contained therein are denied.

      45.    Paragraph 45 does not contain allegations regarding this Defendant, and

thus does not require a response from this Defendant. To the extent Paragraph 45

calls for a response from this Defendant, the allegations contained therein are denied.

      46.    Paragraph 46 does not contain allegations regarding this Defendant, and

thus does not require a response from this Defendant. To the extent Paragraph 46

calls for a response from this Defendant, the allegations contained therein are denied.

      47.    This Defendant admits that Tarkett is a foreign corporation authorized

to do business in the State of Georgia who has conducted business in this District.

                                          9
          Case 4:20-cv-00008-AT Document 725 Filed 01/25/22 Page 10 of 56




Except as expressly admitted, the remaining allegations contained in Paragraph 47

are denied.

      48.      Paragraph 48 does not contain allegations regarding this Defendant,

and thus does not require a response from this Defendant. To the extent Paragraph

48 calls for a response from this Defendant, the allegations contained therein are

denied.

      49.      Paragraph 49 does not contain allegations regarding this Defendant, and

thus does not require a response from this Defendant. To the extent Paragraph 49

calls for a response from this Defendant, the allegations contained therein are denied.

                            FACTUAL ALLEGATIONS

      50.      This Defendant admits that there are many carpet manufacturing plants

in the vicinity of the City of Dalton, Georgia. Except as thus stated, this Defendant

denies the allegations contained in Paragraph 50.

      51.      This Defendant denies the allegations contained in Paragraph 51 on the

basis of vagueness.

      52.      This Defendant objects to the allegations of Paragraph 52 on the

grounds of vagueness. This Defendant further lacks knowledge or information

sufficient to form a belief as to the truth of the allegations contained in Paragraph 52

and, thus, denies those allegations.




                                          10
       Case 4:20-cv-00008-AT Document 725 Filed 01/25/22 Page 11 of 56




      53.      This Defendant admits that PFOA and PFOS have been phased out by

“the industry” and are persistent in the environment. Except as expressly admitted,

this Defendant lacks knowledge or information sufficient to form a belief as to the

truth of the remaining allegations contained in Paragraph 53 and, thus, denies those

allegations.

      54.      This Defendant objects to the term “toxic” because it is undefined,

vague, and ambiguous. This Defendant lacks knowledge or information sufficient

to form a belief as to the truth of the allegations contained in Paragraph 54 and, thus,

denies those allegations.

      55.      With respect to Paragraph 55, the C8 Health Project’s findings and

conclusions speak for themselves. To the extent factual allegations are made against

this Defendant, or the allegations contradict the C8 Health Project’s findings or

conclusions, this Defendant denies those allegations. This Defendant further denies

the allegations as they pertain to PFAS as an entire classification of chemicals.

      56.      With respect to Paragraph 56, the C8 Health Project’s findings and

conclusions speak for themselves. To the extent factual allegations are made against

this Defendant, or the allegations contradict the C8 Health Project’s findings or

conclusions, this Defendant denies those allegations. This Defendant further denies

the allegations as they pertain to PFAS as an entire classification of chemicals.




                                          11
       Case 4:20-cv-00008-AT Document 725 Filed 01/25/22 Page 12 of 56




      57.      With respect to Paragraph 57, the EPA and IARC’s findings and

conclusions speak for themselves. To the extent factual allegations are made against

this Defendant, or the allegations contradict the EPA’s and IARC’s findings or

conclusions, this Defendant denies those allegations.

      58.      With respect to Paragraph 58, the NTP’s findings and conclusions

speak for themselves. To the extent factual allegations are made against this

Defendant, or the allegations contradict the NPT’s findings or conclusions, this

Defendant denies those allegations. This Defendant further denies the allegations as

they pertain to PFAS as an entire classification of chemicals.

      59.      With respect to Paragraph 59, the EPA actions and advisories speak for

themselves. To the extent factual allegations are made against this Defendant, or the

allegations contradict the EPA’s advisories or findings, this Defendant denies those

allegations.

      60.      With respect to Paragraph 60, the EPA actions and advisories speak for

themselves. To the extent factual allegations are made against this Defendant, or the

allegations contradict the EPA’s advisories or findings, this Defendant denies those

allegations.

      61.      With respect to Paragraph 61, the EPA action speaks for itself. To the

extent factual allegations are made against this Defendant, this Defendant lacks




                                          12
       Case 4:20-cv-00008-AT Document 725 Filed 01/25/22 Page 13 of 56




knowledge or information sufficient to form a belief as to the truth of the allegations

contained in Paragraph 61 and, thus, denies those allegations.

      62.    With respect to Paragraph 62, the ATSDR’s findings and conclusions

speak for themselves. To the extent factual allegations are made against this

Defendant, or the allegations contradict the ATSDR’s findings or conclusions, this

Defendant denies those allegations. This Defendant further denies the allegations as

they pertain to PFAS as an entire classification of chemicals.

      63.    With respect to Paragraph 63, the actions of the ATSDR’s findings and

conclusions speak for themselves. To the extent the allegations contained in

Paragraph 63 are construed as requiring a response from this Defendant, this

Defendant lacks knowledge or information sufficient to form a belief as to the truth

of the allegations contained in Paragraph 63 and, thus, denies those allegations.

      64.    With respect to the allegations in Paragraph 64, this Defendant lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

contained in Paragraph 65 and, thus, denies those allegations.

      65.     With respect to the allegations in Paragraph 65, this Defendant lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

contained in Paragraph 65 and, thus, denies those allegations.

      66.    This Defendant objects to the terms “toxicity” and “related chemicals”

because they are undefined, vague, and ambiguous. To the extent factual allegations

                                          13
       Case 4:20-cv-00008-AT Document 725 Filed 01/25/22 Page 14 of 56




in Paragraph 66 are made against this Defendant, this Defendant denies those

allegations.

      67.      The allegations contained in Paragraph 67 are not directed at this

Defendant, and thus no response from this Defendant is required. To the extent the

allegations contained in Paragraph 67 are construed as requiring a response from this

Defendant, this Defendant lacks knowledge or information sufficient to form a belief

as to the truth of the allegations contained in Paragraph 67 and, thus, denies those

allegations.

      68.      The allegations contained in Paragraph 68 are not directed at this

Defendant, and thus no response from this Defendant is required. To the extent the

allegations contained in Paragraph 68 are construed as requiring a response from this

Defendant, this Defendant lacks knowledge or information sufficient to form a belief

as to the truth of the allegations contained in Paragraph 68 and, thus, denies those

allegations.

      69.      The allegations contained in Paragraph 69 are not directed at this

Defendant, and thus no response from this Defendant is required. To the extent the

allegations contained in Paragraph 69 are construed as requiring a response from this

Defendant, this Defendant lacks knowledge or information sufficient to form a belief

as to the truth of the allegations contained in Paragraph 69 and, thus, denies those

allegations.

                                         14
       Case 4:20-cv-00008-AT Document 725 Filed 01/25/22 Page 15 of 56




      70.      The allegations contained in Paragraph 70 are not directed at this

Defendant, and thus no response from this Defendant is required. To the extent the

allegations contained in Paragraph 70 are construed as requiring a response from this

Defendant, this Defendant lacks knowledge or information sufficient to form a belief

as to the truth of the allegations contained in Paragraph 70 and, thus, denies those

allegations.

      71.      The allegations contained in Paragraph 71 are not directed at this

Defendant, and thus no response from this Defendant is required. To the extent the

allegations contained in Paragraph 71 are construed as requiring a response from this

Defendant, this Defendant lacks knowledge or information sufficient to form a belief

as to the truth of the allegations contained in Paragraph 71 and, thus, denies those

allegations.

      72.      The allegations contained in Paragraph 72 are not directed at this

Defendant, and thus no response from this Defendant is required. To the extent the

allegations contained in Paragraph 72 are construed as requiring a response from this

Defendant, this Defendant lacks knowledge or information sufficient to form a belief

as to the truth of the allegations contained in Paragraph 72 and, thus, denies those

allegations.

      73.      The allegations contained in Paragraph 73 are not directed at this

Defendant, and thus no response from this Defendant is required. To the extent the

                                         15
       Case 4:20-cv-00008-AT Document 725 Filed 01/25/22 Page 16 of 56




allegations contained in Paragraph 73 are construed as requiring a response from this

Defendant, this Defendant lacks knowledge or information sufficient to form a belief

as to the truth of the allegations contained in Paragraph 73 and, thus, denies those

allegations.

      74.      The allegations contained in Paragraph 74 are not directed at this

Defendant, and thus no response from this Defendant is required. To the extent the

allegations contained in Paragraph 74 are construed as requiring a response from this

Defendant, this Defendant lacks knowledge or information sufficient to form a belief

as to the truth of the allegations contained in Paragraph 74 and, thus, denies those

allegations.

      75.      The allegations contained in Paragraph 75 are not directed at this

Defendant, and thus no response from this Defendant is required. To the extent the

allegations contained in Paragraph 75 are construed as requiring a response from this

Defendant, this Defendant lacks knowledge or information sufficient to form a belief

as to the truth of the allegations contained in Paragraph 75 and, thus, denies those

allegations.

      76.      The allegations contained in Paragraph 76 are not directed at this

Defendant, and thus no response from this Defendant is required. To the extent the

allegations contained in Paragraph 76 are construed as requiring a response from this

Defendant, this Defendant lacks knowledge or information sufficient to form a belief

                                         16
       Case 4:20-cv-00008-AT Document 725 Filed 01/25/22 Page 17 of 56




as to the truth of the allegations contained in Paragraph 76 and, thus, denies those

allegations.

      77.      The allegations contained in Paragraph 77 are not directed at this

Defendant, and thus no response from this Defendant is required. To the extent the

allegations contained in Paragraph 77 are construed as requiring a response from this

Defendant, this Defendant lacks knowledge or information sufficient to form a belief

as to the truth of the allegations contained in Paragraph 77 and, thus, denies those

allegations.

      78.      This Defendant denies the allegations of Paragraph 78 as they pertain

to this Defendant.

      79.      This Defendant denies the allegations of Paragraph 79 as they pertain

to this Defendant.

      80.      This Defendant denies the allegations of Paragraph 80 as they pertain

to this Defendant.

      81.      This Defendant denies the allegations of Paragraph 81 as they pertain

to this Defendant. Further this Defendant objects to the term “toxic” as it is

undefined, vague, and ambiguous.

      82.      This Defendant denies the allegations of Paragraph 82 as they pertain

to this Defendant.




                                          17
        Case 4:20-cv-00008-AT Document 725 Filed 01/25/22 Page 18 of 56




        83.    The allegations contained in Paragraph 83 are not directed at this

Defendant, and thus no response from this Defendant is required. To the extent the

allegations contained in Paragraph 83 are construed as requiring a response from this

Defendant, this Defendant lacks information or knowledge sufficient to form a belief

as to the truth of the allegations contained in Paragraph 83 and therefore denies the

same.

        84.    The allegations contained in Paragraph 84 are not directed at this

Defendant, and thus no response from this Defendant is required. To the extent the

allegations contained in Paragraph 84 are construed as requiring a response from this

Defendant, this Defendant lacks knowledge or information sufficient to form a belief

as to the truth of the allegations contained in Paragraph 84 and, thus, denies those

allegations.

        85.    The allegations contained in Paragraph 85 are not directed at this

Defendant, and thus no response from this Defendant is required. To the extent the

allegations contained in Paragraph 85 are construed as requiring a response from this

Defendant, this Defendant lacks knowledge or information sufficient to form a belief

as to the truth of the allegations contained in Paragraph 85 and, thus, denies those

allegations.

        86.    This Defendant denies the allegations of Paragraph 86 as they pertain

to this Defendant.

                                          18
       Case 4:20-cv-00008-AT Document 725 Filed 01/25/22 Page 19 of 56




      87.      This Defendant denies the allegations of Paragraph 87 as they pertain

to this Defendant.

      88.      The allegations contained in Paragraph 88 are not directed at this

Defendant, and thus no response from this Defendant is required. To the extent the

allegations contained in Paragraph 88 are construed as requiring a response from this

Defendant, this Defendant lacks knowledge or information sufficient to form a belief

as to the truth of the allegations contained in Paragraph 88 and, thus, denies those

allegations.

      89.      With respect to the allegations in Paragraph 89, the actions of the EPA,

UGA, and EPD speak for themselves. To the extent a response is required to

Paragraph 89, this Defendant denies those allegations and denies that any testing or

monitoring of this Defendant’s facilities was accurate or valid.

      90.      With respect to the allegations in Paragraph 90, the actions and

reporting of UGA referenced in Paragraph 90 speak for themselves. To the extent

the allegations contained in Paragraph 90 are construed as requiring a response from

this Defendant this Defendant lacks knowledge or information sufficient to form a

belief as to the truth of the allegations contained in Paragraph 90 and, thus, denies

those allegations.

      91.      With respect to the allegations in Paragraph 91, the actions and any

reports of the United Steelworkers Union speak for themselves. To the extent the

                                           19
       Case 4:20-cv-00008-AT Document 725 Filed 01/25/22 Page 20 of 56




allegations contained in Paragraph 91 are construed as requiring a response from this

Defendant this Defendant lacks knowledge or information sufficient to form a belief

as to the truth of the allegations contained in Paragraph 91 and, thus, denies those

allegations.

      92.      With respect to the allegations in Paragraph 92, the actions and any

reports of Dalton Utilities speak for themselves. To the extent a response is required

to Paragraph 92, this Defendant lacks knowledge or information sufficient to form a

belief as to the truth of the allegations contained in Paragraph 92 and therefore denies

the same.

      93.      With respect to Paragraph 93, the EPA’s actions and any reports speak

for themselves. To the extent factual allegations are made against this Defendant,

this Defendant lacks knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 93 and, thus, denies those allegations.

      94.      This Defendant lacks knowledge or information sufficient to form a

belief as to the truth of the allegations contained in Paragraph 94 and, thus, denies

those allegations.

      95.      This Defendant lacks knowledge or information sufficient to form a

belief as to the truth of the allegations contained in Paragraph 95 and therefore denies

those allegations.




                                          20
       Case 4:20-cv-00008-AT Document 725 Filed 01/25/22 Page 21 of 56




      96.    This Defendant lacks knowledge or information sufficient to form a

belief as to the truth of the allegations contained in Paragraph 96 and therefore denies

those allegations.

      97.    This Defendant lacks knowledge or information sufficient to form a

belief as to the truth of the allegations contained in Paragraph 97 and therefore denies

those allegations.

      98.    This Defendant lacks knowledge or information sufficient to form a

belief as to the truth of the allegations contained in Paragraph 98 and therefore denies

those allegations.

      99.    This Defendant lacks knowledge or information sufficient to form a

belief as to the truth of the allegations contained in Paragraph 99 and therefore denies

those allegations.

      100. This Defendant lacks knowledge or information sufficient to form a

belief as to the truth of the allegations contained in Paragraph 100 and, thus, denies

those allegations.

      101. This Defendant lacks knowledge or information sufficient to form a

belief as to the truth of the allegations contained in Paragraph 101 and therefore

denies those allegations.




                                          21
       Case 4:20-cv-00008-AT Document 725 Filed 01/25/22 Page 22 of 56




      102. This Defendant lacks knowledge or information sufficient to form a

belief as to the truth of the allegations contained in Paragraph 102 and, thus, denies

those allegations.

      103. This Defendant lacks knowledge or information sufficient to form a

belief as to the truth of the allegations contained in Paragraph 103 and, thus, denies

those allegations.

      104. This Defendant lacks knowledge or information sufficient to form a

belief as to the truth of the allegations contained in Paragraph 105 and, thus, denies

those allegations.

      105. This Defendant lacks knowledge or information sufficient to form a

belief as to the truth of the allegations contained in Paragraph 104 and, thus, denies

those allegations.

      106. This Defendant objects to the use of “contamination” as it is undefined,

vague and ambiguous. This Defendant further denies the allegations of Paragraph

106 of the Complaint.

                         COUNT ONE:
       DISCHARGE OF POLLUTANTS TO SURFACE WATERS
WITHOUT A NPDES PERMIT IN VIOLATION OF THE CLEAN WATER
                          ACT
                   (Defendant Dalton Utilities)




                                         22
       Case 4:20-cv-00008-AT Document 725 Filed 01/25/22 Page 23 of 56




      107. With respect to Paragraph 107, this Defendant restates and incorporates

its responses to Paragraphs 1 through 106 with the same force and effect as if

repeated at length herein.

      108. With respect to Paragraph 108, Count One of the Fourth Amended

Complaint is not directed at this Defendant and thus no response is required. To the

extent Paragraph 108 can be construed as requiring a response from this Defendant,

the allegations contained in Paragraph 108 are denied.

      109. With respect to Paragraph 109, Count One of the Fourth Amended

Complaint is not directed at this Defendant and thus no response is required. To the

extent Paragraph 109 can be construed as requiring a response from this Defendant,

the allegations contained in Paragraph 109 are denied.

      110. With respect to Paragraph 110, Count One of the Fourth Amended

Complaint is not directed at this Defendant and thus no response is required. To the

extent Paragraph 110 can be construed as requiring a response from this Defendant,

the allegations contained in Paragraph 110 are denied.

      111. With respect to Paragraph 111, Count One of the Fourth Amended

Complaint is not directed at this Defendant and thus no response is required. To the

extent Paragraph 111 can be construed as requiring a response from this Defendant,

the allegations contained in Paragraph 111 are denied.




                                        23
       Case 4:20-cv-00008-AT Document 725 Filed 01/25/22 Page 24 of 56




      112. With respect to Paragraph 112, Count One of the Fourth Amended

Complaint is not directed at this Defendant and thus no response is required. To the

extent Paragraph 112 can be construed as requiring a response from this Defendant,

the allegations contained in Paragraph 112 are denied.

      113. With respect to Paragraph 113, Count One of the Fourth Amended

Complaint is not directed at this Defendant and thus no response is required. To the

extent Paragraph 113 can be construed as requiring a response from this Defendant,

the allegations contained in Paragraph 113 are denied.

      114. With respect to Paragraph 114, Count One of the Fourth Amended

Complaint is not directed at this Defendant and thus no response is required. To the

extent Paragraph 114 can be construed as requiring a response from this Defendant,

the allegations contained in Paragraph 114 are denied.

      115. With respect to Paragraph 115, Count One of the Fourth Amended

Complaint is not directed at this Defendant and thus no response is required. To the

extent Paragraph 115 can be construed as requiring a response from this Defendant,

the allegations contained in Paragraph 115 are denied.

      116. With respect to Paragraph 116, Count One of the Fourth Amended

Complaint is not directed at this Defendant and thus no response is required. To the

extent Paragraph 116 can be construed as requiring a response from this Defendant,

the allegations contained in Paragraph 116 are denied.

                                        24
       Case 4:20-cv-00008-AT Document 725 Filed 01/25/22 Page 25 of 56




      117. With respect to Paragraph 117, Count One of the Fourth Amended

Complaint is not directed at this Defendant and thus no response is required. To the

extent Paragraph 117 can be construed as requiring a response from this Defendant,

the allegations contained in Paragraph 117 are denied.

      118. With respect to Paragraph 118, Count One of the Fourth Amended

Complaint is not directed at this Defendant and thus no response is required. To the

extent Paragraph 118 can be construed as requiring a response from this Defendant,

the allegations contained in Paragraph 118 are denied.

      119. With respect to Paragraph 119, Count One of the Fourth Amended

Complaint is not directed at this Defendant and thus no response is required. To the

extent Paragraph 119 can be construed as requiring a response from this Defendant,

the allegations contained in Paragraph 119 are denied.

      120. With respect to Paragraph 120, Count One of the Fourth Amended

Complaint is not directed at this Defendant and thus no response is required. To the

extent Paragraph 120 can be construed as requiring a response from this Defendant,

the allegations contained in Paragraph 120 are denied.

      121. With respect to Paragraph 121, Count One of the Fourth Amended

Complaint is not directed at this Defendant and thus no response is required. To the

extent Paragraph 121 can be construed as requiring a response from this Defendant,

the allegations contained in Paragraph 121 are denied.

                                        25
       Case 4:20-cv-00008-AT Document 725 Filed 01/25/22 Page 26 of 56




      [There is no Paragraph 122.]

                          COUNT TWO:
       DISCHARGES OF NON-STORMWATER CONTAINING PFAS IN
      VIOLATION OF NPDES GENERAL STORMWATER PERMIT

      123. With respect to Paragraph 123, this Defendant restates and incorporates

its responses to Paragraphs 1 through 121 with the same force and effect as if

repeated at length herein.

      124. With respect to Paragraph 124, Count Two of the Fourth Amended

Complaint is not directed at this Defendant and thus no response is required. To the

extent Paragraph 124 can be construed as requiring a response from this Defendant,

the allegations contained in Paragraph 124 are denied.

      125. With respect to Paragraph 125, Count Two of the Fourth Amended

Complaint is not directed at this Defendant and thus no response is required. To the

extent Paragraph 125 can be construed as requiring a response from this Defendant,

the allegations contained in Paragraph 125 are denied.

      126. With respect to Paragraph 126, Count Two of the Fourth Amended

Complaint is not directed at this Defendant and thus no response is required. To the

extent Paragraph 126 can be construed as requiring a response from this Defendant,

the allegations contained in Paragraph 126 are denied.

      127. With respect to Paragraph 127, Count Two of the Fourth Amended

Complaint is not directed at this Defendant and thus no response is required. To the

                                        26
       Case 4:20-cv-00008-AT Document 725 Filed 01/25/22 Page 27 of 56




extent Paragraph 127 can be construed as requiring a response from this Defendant,

the allegations contained in Paragraph 127 are denied.

      128. With respect to Paragraph 128, Count Two of the Fourth Amended

Complaint is not directed at this Defendant and thus no response is required. To the

extent Paragraph 128 can be construed as requiring a response from this Defendant,

the allegations contained in Paragraph 128 are denied.

      129. With respect to Paragraph 129, Count Two of the Fourth Amended

Complaint is not directed at this Defendant and thus no response is required. To the

extent Paragraph 129 can be construed as requiring a response from this Defendant,

the allegations contained in Paragraph 129 are denied.

      130. With respect to Paragraph 130, Count Two of the Fourth Amended

Complaint is not directed at this Defendant and thus no response is required. To the

extent Paragraph 130 can be construed as requiring a response from this Defendant,

the allegations contained in Paragraph 130 are denied.

                          COUNT THREE:
        INDUSTRIAL USER PASS THROUGH DISCHARGES OF
POLLUTANTS IN VIOLATION OF FEDERAL PROHIBITIONS, DALTON
  UTILITIES’ SEWER USE RULES AND REGULATIONS, AND THE
                      CLEAN WATER ACT
       (Defendant Dalton/Whitfield Regional Solid Waste Authority)

      131. With respect to Paragraph 131, this Defendant restates and incorporates

its responses to Paragraphs 1 through 130 with the same force and effect as if

repeated at length herein.
                                        27
       Case 4:20-cv-00008-AT Document 725 Filed 01/25/22 Page 28 of 56




      132. With respect to Paragraph 132, Count Three of the Fourth Amended

Complaint is not directed at this Defendant and thus no response is required. To the

extent Paragraph 132 can be construed as requiring a response from this Defendant,

the allegations contained in Paragraph 132 are denied.

      133. With respect to Paragraph 133, Count Three of the Fourth Amended

Complaint is not directed at this Defendant and thus no response is required. To the

extent Paragraph 133 can be construed as requiring a response from this Defendant,

the allegations contained in Paragraph 133 are denied.

      134. With respect to Paragraph 134, Count Three of the Fourth Amended

Complaint is not directed at this Defendant and thus no response is required. To the

extent Paragraph 134 can be construed as requiring a response from this Defendant,

the allegations contained in Paragraph 134 are denied.

      135. With respect to Paragraph 135, Count Three of the Fourth Amended

Complaint is not directed at this Defendant and thus no response is required. To the

extent Paragraph 135 can be construed as requiring a response from this Defendant,

the allegations contained in Paragraph 135 are denied.

      136. With respect to Paragraph 136, Count Three of the Fourth Amended

Complaint is not directed at this Defendant and thus no response is required. To the

extent Paragraph 136 can be construed as requiring a response from this Defendant,

the allegations contained in Paragraph 136 are denied.

                                        28
       Case 4:20-cv-00008-AT Document 725 Filed 01/25/22 Page 29 of 56




      137. With respect to Paragraph 137, Count Three of the Fourth Amended

Complaint is not directed at this Defendant and thus no response is required. To the

extent Paragraph 137 can be construed as requiring a response from this Defendant,

the allegations contained in Paragraph 137 are denied.

      138. With respect to Paragraph 138, Count Three of the Fourth Amended

Complaint is not directed at this Defendant and thus no response is required. To the

extent Paragraph 138 can be construed as requiring a response from this Defendant,

the allegations contained in Paragraph 138 are denied.

      139. With respect to Paragraph 139, Count Three of the Fourth Amended

Complaint is not directed at this Defendant and thus no response is required. To the

extent Paragraph 139 can be construed as requiring a response from this Defendant,

the allegations contained in Paragraph 139 are denied.

      140. With respect to Paragraph 140, Count Three of the Fourth Amended

Complaint is not directed at this Defendant and thus no response is required. To the

extent Paragraph 140 can be construed as requiring a response from this Defendant,

the allegations contained in Paragraph 140 are denied.

      141. With respect to Paragraph 141, Count Three of the Fourth Amended

Complaint is not directed at this Defendant and thus no response is required. To the

extent Paragraph 141 can be construed as requiring a response from this Defendant,

the allegations contained in Paragraph 141 are denied.

                                        29
       Case 4:20-cv-00008-AT Document 725 Filed 01/25/22 Page 30 of 56




      142. With respect to Paragraph 142, Count Three of the Fourth Amended

Complaint is not directed at this Defendant and thus no response is required. To the

extent Paragraph 142 can be construed as requiring a response from this Defendant,

the allegations contained in Paragraph 142 are denied.

      143. With respect to Paragraph 143, Count Three of the Fourth Amended

Complaint is not directed at this Defendant and thus no response is required. To the

extent Paragraph 143 can be construed as requiring a response from this Defendant,

the allegations contained in Paragraph 143 are denied.

      144. With respect to Paragraph 144, Count Three of the Fourth Amended

Complaint is not directed at this Defendant and thus no response is required. To the

extent Paragraph 144 can be construed as requiring a response from this Defendant,

the allegations contained in Paragraph 144 are denied.

      145. With respect to Paragraph 145, Count Three of the Fourth Amended

Complaint is not directed at this Defendant and thus no response is required. To the

extent Paragraph 145 can be construed as requiring a response from this Defendant,

the allegations contained in Paragraph 145 are denied.

                             CLASS ALLEGATIONS

      146. With respect to Paragraph 146, this Defendant restates and incorporates

its responses to Paragraphs 1 through 145 with the same force and effect as if

repeated at length herein.

                                        30
       Case 4:20-cv-00008-AT Document 725 Filed 01/25/22 Page 31 of 56




      147. The allegations contained in Paragraph 147 consist of conclusions of

law which do not require a response from this Defendant. To the extent the

allegations contained in Paragraph 147 are interpreted as requiring a response from

this Defendant, this Defendant denies those allegations.

      148. The allegations contained in Paragraph 148 consist of conclusions of

law which do not require a response from this Defendant. To the extent the

allegations contained in Paragraph 148 are interpreted as requiring a response from

this Defendant, this Defendant denies those allegations.

      149. The allegations contained in Paragraph 149 consist of conclusions of

law which do not require a response from this Defendant. To the extent the

allegations contained in Paragraph 149 are interpreted as requiring a response from

this Defendant, this Defendant denies those allegations.

      150. The allegations contained in Paragraph 150, and each and every

subparagraph thereunder, consist of conclusions of law which do not require a

response from this Defendant. To the extent the allegations contained in Paragraph

150, and each and every subparagraph thereunder, are interpreted as requiring a

response from this Defendant, this Defendant denies those allegations.

      151. The allegations contained in Paragraph 151 consist of conclusions of

law which do not require a response from this Defendant. To the extent the




                                        31
       Case 4:20-cv-00008-AT Document 725 Filed 01/25/22 Page 32 of 56




allegations contained in Paragraph 151 are interpreted as requiring a response from

this Defendant, this Defendant denies those allegations.

                                   Numerosity

      152. The allegations contained in Paragraph 152 consist of conclusions of

law which do not require a response from this Defendant. To the extent the

allegations contained in Paragraph 152 are interpreted as requiring a response from

this Defendant, this Defendant denies those allegations.

      153. The allegations contained in Paragraph 153 consist of conclusions of

law which do not require a response from this Defendant. To the extent the

allegations contained in Paragraph 153 are interpreted as requiring a response from

this Defendant, this Defendant denies those allegations.

                                    Typicality

      154. The allegations contained in Paragraph 154 consist of conclusions of

law which do not require a response from this Defendant. To the extent the

allegations contained in Paragraph 154 are interpreted as requiring a response from

this Defendant, this Defendant denies those allegations.

                            Adequate Representation

      155. The allegations contained in Paragraph 155 consist of conclusions of

law which do not require a response from this Defendant. To the extent the




                                        32
       Case 4:20-cv-00008-AT Document 725 Filed 01/25/22 Page 33 of 56




allegations contained in Paragraph 155 are interpreted as requiring a response from

this Defendant, this Defendant denies those allegations.

      156. This Defendant is without sufficient information or knowledge to form

a belief as to the truth of the allegations contained in Paragraph 156 and therefore

denies those allegations.

              Predominance of Common Questions of Law or Fact

      157. The allegations contained in Paragraph 157, and each and every

subparagraph thereunder, consist of conclusions of law which do not require a

response from this Defendant. To the extent the allegations contained in Paragraph

157, and each and every subparagraph thereunder, are interpreted as requiring a

response from this Defendant, this Defendant denies those allegations.

      158. The allegations contained in Paragraph 158 consist of conclusions of

law which do not require a response from this Defendant. To the extent the

allegations contained in Paragraph 158 are interpreted as requiring a response from

this Defendant, this Defendant denies those allegations.

      Fed. R. Civ. P. 23(a) and 23(b)(2) Injunctive or Declaratory Relief

      159. The allegations contained in Paragraph 159 consist of conclusions of

law which do not require a response from this Defendant. To the extent the

allegations contained in Paragraph 159 are interpreted as requiring a response from

this Defendant, this Defendant denies those allegations.

                                        33
       Case 4:20-cv-00008-AT Document 725 Filed 01/25/22 Page 34 of 56




      160. The allegations contained in Paragraph 160 consist of conclusions of

law which do not require a response from this Defendant. To the extent the

allegations contained in Paragraph 160 are interpreted as requiring a response from

this Defendant, this Defendant denies those allegations.

                                   Superiority

      161. The allegations contained in Paragraph 161 consist of conclusions of

law which do not require a response from this Defendant. To the extent the

allegations contained in Paragraph 161 are interpreted as requiring a response from

this Defendant, this Defendant denies those allegations.

      162. The allegations contained in Paragraph 162 consist of conclusions of

law which do not require a response from this Defendant. To the extent the

allegations contained in Paragraph 162 are interpreted as requiring a response from

this Defendant, this Defendant denies those allegations.

                             COUNT FOUR:
  WILLFULL, WANTON, RECKLESS, OR NEGLIGENT MISCONDUCT
   (All Defendants Except Dalton Utilities, Invista, 3M, Daikin, DuPont &
                               Chemours)

      163. With respect to Paragraph 163, this Defendant restates and incorporates

its responses to Paragraphs 1 through 162 with the same force and effect as if

repeated at length herein.

      164. This Defendant objects to the term “toxic” because it is undefined,

vague, and ambiguous. The allegations contained in Paragraph 164 consist of
                                        34
       Case 4:20-cv-00008-AT Document 725 Filed 01/25/22 Page 35 of 56




conclusions of law which do not require a response from this Defendant. To the

extent the allegations contained in Paragraph 164 are interpreted as requiring a

response from this Defendant, this Defendant denies those allegations.

      165. This Defendant objects to the term “contaminate” because it is

undefined, vague, and ambiguous. This Defendant denies the allegations contained

in Paragraph 165.

      166. This Defendant denies the allegations contained in Paragraph 166.

      167. This Defendant objects to the term “toxic” because it is undefined,

vague, and ambiguous.        This Defendant denies the allegations contained in

Paragraph 167.

      168. This Defendant denies the allegations contained in Paragraph 168.

                             COUNT FIVE:
                         NEGLIGENCE PER SE
 (All Defendants Except Dalton Utilities, 3M, DuPont, Chemours, Invista, &
                                 Daikin)

      169. With respect to Paragraph 169, this Defendant restates and incorporates

its responses to Paragraphs 1 through 168 with the same force and effect as if

repeated at length herein.

      170. The allegations contained in Paragraph 170 consist of conclusions of

law which do not require a response from this Defendant. To the extent the

allegations contained in Paragraph 170 are interpreted as requiring a response from

this Defendant, this Defendant denies those allegations.
                                        35
       Case 4:20-cv-00008-AT Document 725 Filed 01/25/22 Page 36 of 56




      171. The allegations contained in Paragraph 171 consist of conclusions of

law which do not require a response from this Defendant. To the extent the

allegations contained in Paragraph 171 are interpreted as requiring a response from

this Defendant, this Defendant denies those allegations.

      172. The allegations contained in Paragraph 172 consist of conclusions of

law which do not require a response from this Defendant. To the extent the

allegations contained in Paragraph 172 are interpreted as requiring a response from

this Defendant, this Defendant denies those allegations.

      173. The allegations contained in Paragraph 173 consist of conclusions of

law which do not require a response from this Defendant. To the extent the

allegations contained in Paragraph 173 are interpreted as requiring a response from

this Defendant, this Defendant denies those allegations.

      174. This Defendant denies the allegations contained in Paragraph 174.

                                 COUNT SIX:
                               Punitive Damages
                     (All Defendants Except Dalton Utilities)

      175. With respect to Paragraph 175, this Defendant restates and incorporates

its responses to Paragraphs 1 through 174 with the same force and effect as if

repeated at length herein.

      176. The allegations contained in Paragraph 176 consist of conclusions of

law which do not require a response from this Defendant. To the extent the


                                        36
       Case 4:20-cv-00008-AT Document 725 Filed 01/25/22 Page 37 of 56




allegations contained in Paragraph 176 are interpreted as requiring a response from

this Defendant, this Defendant denies those allegations.

      177. The allegations contained in Paragraph 177 consist of conclusions of

law which do not require a response from this Defendant. To the extent the

allegations contained in Paragraph 177 are interpreted as requiring a response from

this Defendant, this Defendant denies those allegations.

      178. This Defendant denies the allegations contained in Paragraph 178.

      179. This Defendant denies the allegations contained in Paragraph 179.

      180. This Defendant denies the allegations contained in Paragraph 180.

      181. This Defendant denies the allegations contained in Paragraph 181.

      182. This Defendant denies the allegations contained in Paragraph 182.

      183. This Defendant denies the allegations contained in Paragraph 183.

                                COUNT SEVEN:
                              PUBLIC NUISANCE
                     (All Defendants Except Dalton Utilities)

      184. With respect to Paragraph 184, this Defendant restates and incorporates

its responses to Paragraphs 1 through 183 with the same force and effect as if

repeated at length herein.

      185. This Defendant lacks knowledge or information sufficient to form a

belief as to the truth of the allegations contained in Paragraph 185 and, thus, denies

the same. This Defendant further denies that Plaintiff is entitled to any damages or

                                         37
       Case 4:20-cv-00008-AT Document 725 Filed 01/25/22 Page 38 of 56




relief from this Defendant and demands strict proof of those damages claimed

therein.

      186. The allegations contained in Paragraph 186 consist of conclusions of

law which do not require a response from this Defendant. To the extent the

allegations contained in Paragraph 186 are interpreted as requiring a response from

this Defendant, this Defendant denies those allegations. This Defendant further

denies that Plaintiff is entitled to any damages or relief from this Defendant and

demands strict proof of those damages claimed therein.

      187. This Defendant objects to the term “contamination” because it is

undefined, vague, and ambiguous. This Defendant denies the allegations contained

in Paragraph 187.

      188. This Defendant objects to the term “contaminated water” because it is

undefined, vague, and ambiguous. This Defendant denies the allegations contained

in Paragraph 188.

      189. This Defendant objects to the term “contamination” because it is

undefined, vague, and ambiguous. This Defendant denies the allegations contained

in Paragraph 189.

      190. This Defendant objects to the term “contamination” because it is

undefined, vague, and ambiguous. This Defendant denies the allegations contained

in Paragraph 190.

                                        38
       Case 4:20-cv-00008-AT Document 725 Filed 01/25/22 Page 39 of 56




      191. This Defendant objects to the term “contamination” because it is

undefined, vague, and ambiguous. This Defendant denies the allegations contained

in Paragraph 191.

      192. This Defendant denies the allegations contained in Paragraph 192. This

Defendant further denies that Plaintiff is entitled to any damages or relief from this

Defendant and demands strict proof of those damages claimed therein.

      193. This Defendant objects to the term “contamination” because it is

undefined, vague, and ambiguous. This Defendant denies the allegations contained

in Paragraph 193. This Defendant further denies that Plaintiff is entitled to any

damages or relief from this Defendant and demands strict proof of those damages

claimed therein.

                             COUNT EIGHT:
                         CLAIMS FOR ABATEMENT
                   AND INJUNCTION OF PUBLIC NUISANCE

      194. With respect to Paragraph 194, this Defendant restates and incorporates

its responses to Paragraphs 1 through 193 with the same force and effect as if

repeated at length herein.

      195. Paragraph 195 is a narrative setting forth legal conclusions to which no

response is required. To the extent Paragraph 195 is interpreted to contain factual

allegations requiring response, this Defendant denies those allegations. This




                                         39
        Case 4:20-cv-00008-AT Document 725 Filed 01/25/22 Page 40 of 56




Defendant further denies that Plaintiff is entitled to any damages or relief from this

Defendant and demands strict proof of those damages claimed therein.

       196. This Defendant lacks knowledge or information sufficient to form a

belief as to the truth of the allegations contained in Paragraph 196 and therefore

denies those allegations.

       197. This Defendant denies the allegations contained in Paragraph 197 and

denies that Plaintiff is entitled to the relief sought.

       198. This Defendant denies the allegations contained in Paragraph 198 and

denies that Plaintiff is entitled to the relief sought.

       199. This Defendant denies the allegations contained in Paragraph 199 and

denies that Plaintiff is entitled to the relief sought.

       200. This Defendant denies the allegations contained in Paragraph 200 and

denies that Plaintiff is entitled to the relief sought.

       In response to the unnumbered paragraph beginning “WHEREFORE,” and

each and every subparagraph thereunder, this Defendant denies that Plaintiff is

entitled to any relief and demands strict proof of the damages claimed therein. This

Defendant further respectfully requests that the Court dismiss all claims against it

with prejudice, enter judgment in favor of this Defendant, tax costs against Plaintiff,

award this Defendant its reasonable attorneys’ fees and expenses, deny Plaintiff its




                                            40
       Case 4:20-cv-00008-AT Document 725 Filed 01/25/22 Page 41 of 56




request for injunctive relief and class certification, and award this Defendant such

other relief as the Court deems appropriate.

                           AFFIRMATIVE DEFENSES

      This Defendant asserts the following defenses and affirmative defenses

without assuming the burden for such defenses that would otherwise rest with the

Plaintiff and the putative class members (collectively, “Plaintiff”):

                             First Affirmative Defense

      The Fourth Amended Complaint (the “Complaint”) and each count therein

fail to state a claim upon which relief can be granted.

                            Second Affirmative Defense

      Any alleged trespass or alleged interference with Plaintiff’s property was de

minimis and therefore not compensable or actionable, and Plaintiff is not entitled to

any relief or recovery from this Defendant.

                             Third Affirmative Defense

      Plaintiff has, or may have, failed to join necessary, indispensable, and proper

parties needed for a just adjudication of Plaintiff’s claims.

                            Fourth Affirmative Defense

      Plaintiff’s claims are, or may be, barred by the applicable statutes of

limitations and statutes of repose, or alternatively, by the doctrine of laches.



                                          41
           Case 4:20-cv-00008-AT Document 725 Filed 01/25/22 Page 42 of 56




                             Fifth Affirmative Defense

       Venue is not proper in this Court as to this Defendant.

                             Sixth Affirmative Defense

       Plaintiff’s claims are, or may be, barred because the claimed injuries and

damages were not proximately caused by any acts or omissions of this Defendant.

                            Seventh Affirmative Defense

       Plaintiff’s claims are, or may be, barred because the claimed injuries and

damages, if any, were or may have been caused by the conduct of third parties,

including, but not limited to, the prior, intervening, or superseding conduct of third

parties.

                             Eighth Affirmative Defense

       Plaintiff’s claims are barred in whole or part because the conduct of this

Defendant was in accordance with the applicable standards of care under all laws,

regulations, industry practice, and state-of-the art knowledge, that there was no

practical or technically feasible alternative design or formulation that would have

prevented the harm alleged to Plaintiff without substantially impairing the usefulness

or intended purpose of the product, and the activities of this Defendant were in

accordance with such standards and were reasonable as a matter of law. This

Defendant at all times acted reasonably, in good faith, and with the skill, prudence

and diligence of others in the industry at the time.


                                          42
          Case 4:20-cv-00008-AT Document 725 Filed 01/25/22 Page 43 of 56




                            Ninth Affirmative Defense

      This Defendant asserts that Plaintiff has not suffered any recoverable damages

attributable to this Defendant and demands strict proof of the damages alleged

herein.

                            Tenth Affirmative Defense

      Plaintiff’s claims are, or may be, barred because of its failure to properly

mitigate damages.

                           Eleventh Affirmative Defense

      This Defendant did not breach any legal duty owed to Plaintiff.

                           Twelfth Affirmative Defense

      Plaintiff’s claims are, or may be, barred by collateral estoppel, res judicata,

judicial estoppel, and/or prior pending actions.

                          Thirteenth Affirmative Defense

      Plaintiff’s claims are, or may be, barred by estoppel or waiver.

                         Fourteenth Affirmative Defense

      Plaintiff’s claims are, or may be, barred by reason of the doctrines of unclean

hands or in pari delicto or both.




                                         43
       Case 4:20-cv-00008-AT Document 725 Filed 01/25/22 Page 44 of 56




                           Fifteenth Affirmative Defense

      Any injuries or damages alleged to have been sustained by the Plaintiff were,

or may have been, proximately caused or contributed to by the free and voluntary

assumption of the risk by Plaintiff.

                          Sixteenth Affirmative Defense

      Plaintiff’s claims are, or may be, barred to the extent that they have been

resolved, settled and/or released.

                         Seventeenth Affirmative Defense

      To the extent that Plaintiff has received payment from any alleged joint

tortfeasor in satisfaction of any of the alleged injuries and/or claims against this

Defendant and/or other alleged tortfeasors, the Plaintiff’s Complaint and each and

every count and cause of action alleged therein is barred by the defense of payment

and accord and satisfaction.

                          Eighteenth Affirmative Defense

      If Plaintiff has settled or should hereafter settle for any alleged injuries or

damages with any parties to this action or any other action, then this Defendant is

entitled to a credit and setoff in the amount of said settlement.

                          Nineteenth Affirmative Defense

      Plaintiff’s claims are, or may be, barred in whole or in part because Plaintiff’s

property has not been damaged by this Defendant’s acts or omissions and/or and

                                          44
        Case 4:20-cv-00008-AT Document 725 Filed 01/25/22 Page 45 of 56




because the Georgia public services doctrine and/or economic loss doctrine applies

to bar Plaintiff’s claims.

                             Twentieth Affirmative Defense

       Plaintiff’s claims are, or may be, barred for failure to properly, clearly and

adequately plead the claims against this Defendant pursuant to FED. R. CIV. P. Nos.

8 and 9.

                         Twenty-First Affirmative Defense

       Plaintiff’s claims are, or may be, barred by contributory negligence and/or

comparative negligence.

                        Twenty-Second Affirmative Defense

       Plaintiff’s claims are, or may be, barred by lack standing to bring this action

or one or more of the claims asserted against this Defendant and this Court lacks

personal jurisdiction over this Defendant.

                        Twenty-Third Affirmative Defense

       The Complaint and each purported cause of action therein are barred because

the utility of the conduct of which Plaintiff complain outweighs any alleged harm to

Plaintiff.

                        Twenty-Fourth Affirmative Defense

       Plaintiff’s state law claims are, or may be, barred or preempted by applicable

federal or state law and regulations.

                                          45
        Case 4:20-cv-00008-AT Document 725 Filed 01/25/22 Page 46 of 56




                           Twenty-Fifth Affirmative Defense

       Plaintiff’s claims are, or may be, barred in whole or part, as Plaintiff’s claimed

damages were not the result of or caused by any act or omission of this Defendant,

but instead were caused by reasons that were unknown and not reasonably

foreseeable to this Defendant.

                           Twenty-Sixth Affirmative Defense

       If it is shown that Plaintiff or its property was exposed to any product, by-

product, or material generated or used by this Defendant, which is expressly denied,

said exposure was so minimal and not on a regular basis over some extended period

of time as to be insufficient to establish a reasonable degree of probability that this

substantially factored in or was the proximate cause of any alleged damages or

injuries.

                       Twenty-Seventh Affirmative Defense

       Plaintiff’s claims based on nuisance theories are, or may be, barred or limited

under the doctrines of “coming to the nuisance,” the prior nuisance doctrine, and/or

the doctrine of consent.

                        Twenty-Eighth Affirmative Defense

       Plaintiff’s claims for nuisance are barred, or may be barred, because Plaintiff

cannot show the requisite injury, inconvenience or damage, because this Defendant

has conducted itself at all times in a lawful and proper manner, because this

                                           46
       Case 4:20-cv-00008-AT Document 725 Filed 01/25/22 Page 47 of 56




Defendant had no control over the instrumentality of the alleged nuisance, and/or

because this Defendant has ceased the alleged conduct complained of by Plaintiff.

                        Twenty-Ninth Affirmative Defense

      Plaintiff has not and will not suffer irreparable injury without the issuance of

an injunction and cannot demonstrate Plaintiff has suffered special harm.

                           Thirtieth Affirmative Defense

      The potential harm faced by Plaintiff if injunctive relief is not granted does

not outweigh the harm that will occur to this Defendant if an injunction is issued.

                         Thirty-First Affirmative Defense

      Issuance of an injunction will not serve the public interest.

                        Thirty-Second Affirmative Defense

      Plaintiff is not entitled to any recovery for trespass or nuisance for its alleged

injuries because such alleged acts of trespass and nuisance were not committed under

circumstances of insult or contumely.

                        Thirty-Third Affirmative Defense

      1.     Any assessment of punitive damages in this action is unconstitutional

as to this Defendant and as applied to the facts and circumstances in this case in that:

             a.     It operates to create an arbitrary and capricious method and

manner for the jury’s assessment in determination of damages, without regard for

the quality and quantity of culpability of other defendants joined in one action;

                                          47
       Case 4:20-cv-00008-AT Document 725 Filed 01/25/22 Page 48 of 56




             b.     It operates to deny to this Defendant a fair opportunity to have

the jury assess damages based on this Defendant’s alleged culpability for negligence

which cannot be segregated from allegations of negligence against other defendants

joined in this action;

             c.     In failing to provide for joint contribution and an apportionment

of damages among defendants, it deprives this Defendant of property without due

process of law and contrary to the Fifth and Fourteenth Amendments to the

Constitution of the United States and specifically to those portions thereof

proscribing any state from depriving any person of property without due process of

law;

             d.     In failing to provide for joint contribution and an apportionment

of damages among defendants, it deprives this Defendant of property without due

process of law contrary to any applicable constitutional provision which provides,

insofar as are germane, that no person shall be deprived of property except by due

process of law.

       2.    An award of punitive damages in this case against this Defendant would

be unconstitutional for the reason that awards of punitive damages are not governed

by any specific standards, are not based on rational distinctions, do not serve any

legitimate state interest and thereby violate the due process and equal protection




                                         48
       Case 4:20-cv-00008-AT Document 725 Filed 01/25/22 Page 49 of 56




provisions of both the Fourteenth Amendment to the United States Constitution and

the Constitution of Georgia, and any other applicable constitutional provisions.

      3.     Any demand for punitive damages violates the Sixth Amendment of the

United States Constitution in that such claim for punitive damages is a claim that is

penal in nature, entitling this Defendant to the same procedural safeguards accorded

to a criminal defendant under the Sixth Amendment.

      4.     Any demand for punitive damages violates the self-incrimination

clause of the Fifth Amendment of the United States Constitution in that the damages

claimed are penal in nature while this Defendant is required to disclose documents

and/or other evidence without the safeguard against self-incrimination set out in the

Fifth Amendment.

      5.     Any demand for punitive damages violates the Fifth Amendment of the

United States Constitution which prohibits deprivation of life, liberty or property

except by due process of law in that the claim for punitive damages is vague and not

rationally related to any legitimate government interests.

      6.     Any demand for punitive damages violates the rights guaranteed by the

United States Constitution in that the claim for punitive damages is penal in nature

for which the burden of proof on the Plaintiff is less than the “reasonable doubt”

standard required in criminal cases.




                                         49
       Case 4:20-cv-00008-AT Document 725 Filed 01/25/22 Page 50 of 56




      7.     Any demand for punitive damages is unconstitutional under any

applicable constitutional provision which provides in substance that no person shall

be deprived of life, liberty or property except by due process of law, in that the

punitive damages claimed are vague and not rationally related to any legitimate

government interests.

      8.     Any demand for punitive damages is unconstitutional under the

Constitution of the State of Georgia, or any other applicable constitution, which

provides that no person shall be deprived of life, liberty or property except by due

process of law, in that the punitive damages claimed are penal in nature, requiring a

burden of proof on the Plaintiff which is less than the “reasonable doubt” standard

applicable in a criminal case.

      9.     Punitive damage awards are not governed by any specific standards, are

not based upon rational distinctions, and do not serve any legitimate state interest.

Consequently, such awards violate the due process and equal protection provisions

of both the Fourteenth Amendment of the United States Constitution and the

Constitution of the State of Georgia, or any other applicable constitutional provision.

      10.    The amount of an award of punitive damages could violate the

excessive fines provisions of the Eighth Amendment of the United States

Constitution and the Constitution of the State of Georgia, or any other applicable

constitutional provision.

                                          50
       Case 4:20-cv-00008-AT Document 725 Filed 01/25/22 Page 51 of 56




      11.    Punitive damages are penal in nature, yet defendants in civil actions are

not accorded the same procedural safeguards accorded to criminal defendants under

the Fourteenth, Fifteenth, and Sixteenth Amendments to the United States

Constitution, including, without limitation, requiring proof beyond a reasonable

doubt and imposing civil penal fines in excess of those fines that could be imposed

under criminal law.

      12.    The Complaint fails to state a cause of action upon which punitive

damages may be awarded.

      13.    Plaintiff’s claims for punitive damages are barred or limited by the

provisions of O.C.G.A § 51-12-1, et seq., or any other applicable statutory provision

or legal protections.

      14.    This Defendant is entitled to any and all defenses, criteria, standards

and constitutional protections enunciated by the United States Supreme Court in

BMW of North America v. Gore, Inc., 116 S. Ct. 1589 (1996), Cooper Industries,

Inc. v. Leatherman Tool Group, Inc., 121 S. Ct. 1678 (2001), and State Farm Mutual

Automobile Ins. Co. v. Campbell, 123 S. Ct. 1513 (2003).

                        Thirty-Fourth Affirmative Defense

      Plaintiff’s claims are, or may be, barred under the doctrine of primary

jurisdiction and the failure of Plaintiff to exhaust all administrative remedies.




                                          51
       Case 4:20-cv-00008-AT Document 725 Filed 01/25/22 Page 52 of 56




                        Thirty-Fifth Affirmative Defense

      This Defendant denies that it at any time interfered in any way with Plaintiff’s

use of property, but nevertheless, if such interference is found, it is immaterial and

reasonable.

                       Thirty-Sixth Affirmative Defense

      Plaintiff’s claim for attorneys’ fees and litigation expenses is barred because

this Defendant has not acted in such a way to give rise to any claim for attorneys’

fees and litigation expenses.

                       Thirty-Seventh Affirmative Defense

      This Defendant denies that any of its actions were willful, wanton, malicious

or reckless.

                       Thirty-Eighth Affirmative Defense

      The claims against the multiple defendants are improperly joined and

misjoined, and thus the claims should be dismissed or other appropriate relief be

afforded with respect to such improper joinder and misjoinder.

                        Thirty-Ninth Affirmative Defense

      Class treatment should be denied as Plaintiff and the putative class fail to

satisfy the elements of Fed. R. Civ. P. 23 and applicable law, including numerosity,

commonality, typicality and adequacy, and joinder of all class members is

impractical under the circumstances.

                                         52
       Case 4:20-cv-00008-AT Document 725 Filed 01/25/22 Page 53 of 56




                            Fortieth Affirmative Defense

      Plaintiff’s claims fail as improper collateral attacks on properly issued

permits.

                          Forty-First Affirmative Defense

      Plaintiff’s claims to the extent asserted under the Georgia Water Quality

Control Act or otherwise are barred to the extent the “permit shield” doctrine applies,

because this Defendant does not currently discharge industrial wastewater from its

Dalton facilities, and because any industrial wastewater was discharged to Dalton

Utilities pursuant to lawful permits, and did not cause or permit any spill, discharge,

or deposit into the waters of the state.

                         Forty-Second Affirmative Defense

      This Defendant is timely filing its Answer pursuant to Rule 8, but hereby

reserves its position that the claims against it are so vague and ambiguous that the

Plaintiff, should the claims not be dismissed for failure to properly plead in any event

should be required to restate its claims more definitely.

                         Forty-Third Affirmative Defense

      This Defendant adopts and incorporates herein by reference any applicable

affirmative defenses asserted by any other defendant in this action.

                         Forty-Fourth Affirmative Defense




                                           53
       Case 4:20-cv-00008-AT Document 725 Filed 01/25/22 Page 54 of 56




       This Defendant reserves the right to amend its answers and affirmative

defenses and/or assert any additional defenses or claims as discovery proceeds in

this action.

                                            Respectfully submitted,


                                            /s/ Michael Sullivan
                                            Michael Sullivan, GA Bar No. 142203
                                            Brendan White, GA Bar No. 458315
                                            Counsel for Defendant Tarkett USA
                                            Inc.

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                                       54
       Case 4:20-cv-00008-AT Document 725 Filed 01/25/22 Page 55 of 56




                     CERTIFICATE OF COMPLIANCE

      Pursuant to Northern District of Georgia Civil Local Rule 7.1.D, the

undersigned counsel certifies that the foregoing filing is prepared in times New

Roman 14-point font, as mandated by Local Rule 5.1.C

                                           /s/ John W. Scott
                                           John W. Scott*
                                           *Admitted Pro Hac Vice


                                           /s/ Michael Sullivan
                                           Michael Sullivan, GA Bar No. 142203




                                      55
       Case 4:20-cv-00008-AT Document 725 Filed 01/25/22 Page 56 of 56




                         CERTIFICATE OF SERVICE

      I certify that on January 25, 2022, I electronically filed a copy of the foregoing

DEFENDANT TARKETT USA INC.’S ANSWER AND AFFIRMATIVE

DEFENSES TO THE FOURTH AMENDED INDIVIDUAL AND CLASS

ACTION COMPLAINT with the Clerk of Court by using the CM/ECF system

which will automatically notify all counsel of record.


                                               /s/ John W. Scott
                                               John W. Scott*
                                               *Admitted Pro Hac Vice


                                               /s/ Michael Sullivan
                                               Michael Sullivan, GA Bar No. 142203




                                          56
